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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


Criminal Action No. 15-CR-200-REB

UNITED STATES OF AMERICA,

         Plaintiff,
v.

SHAWN SHIELDS,

         Defendant.

         SHAWN SHIELDS OBJECTIONS TO PRESENTENCE INVESTIGATION REPORT




         Shawn Shields submits the following objections to the Presentence Investigation

Report (ECF Document 126) dated May 23, 2018:

                                           INTRODUCTION

         The paragraph numbers used in this document will correspond to the paragraph

numbers in the Presentence Investigation Report dated May 23, 2018 (ECF Document

126) and thus will only utilize the numbers of paragraphs in Document 126 to which

objections are made. An objection may be made to information contained in several

consecutive paragraphs and will therefore be identified by denoting that sequence of

paragraphs. For example, the objection to paragraphs six through seven is designated

“6-7.”

         6-7.    Mr. Shields objects to the description of the offense conduct as it

inadequately describes the nature of the threat to him described at trial. In particular, it

fails to describe the testimony of Donald Heisler detailing his threat to kill Mr. Shields,



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the weapon Heisler possessed, his effort to lull Mr. Shields into a false sense of security

after chasing him up the stairs so as to make a later effort to carry out the threat more

effective, and his threats stated to Mr. Shields through his cell door after Mr. Shields

had returned to his cell and Mr. Heisler had not.

       16-17.        Mr. Shields asserts that he should be granted the two level

reduction for Acceptance of Responsibility described in USSG Sec. 3E1.1. Application

Note 1 of that rule is applicable to Mr. Shields because only by taking the case to trial

could he properly assert and preserve the issue that the jury should be instructed on the

defense of necessity. His pre-trial statements admitted his conduct and his pre-trial

conduct assisted law enforcement officers to recover the evidence used to convict him.

       35-41.        Mr. Shields objects to the statements of facts contained in

paragraphs 35-41 if the Presentence Investigation Report as inaccurate and

insufficiently documented to warrant acceptance by the court or being given any weight

by the court. In only one of the paragraphs, number 36, is any source for the

information stated. Paragraph 36 states it is from a “Department of Corrections incident

report.” Mr. Shields disputes the accuracy of the factual descriptions in each of the

paragraphs 35-41and asserts that without being afforded the opportunity to review the

source of the information neither he nor counsel can effectively answer, defend or

correct the assertions made therein.

       45-48.        Mr. Shields objects to the addition of 2 points to his criminal history

computation under USSG Sec. 4A1.1(d). That rule adds points when the present

offense was committed while under a sentence. Being under such a sentence is an

essential element of the crime for which he was convicted and this factor is therefore



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accounted for in the base level of the offense. The plain meaning of the rule and the

commentary accompanying it is that it is intended to apply to crimes where the fact that

the crime was committed during a sentence is not accounted for in the substance of the

crime itself. The rule is inapplicable to Mr. Shields as duplicative of the conviction itself.

       75-76.        Mr. Shields asserts that the guideline computation contained in the

Presentence Investigation Report is inaccurate for all of the reasons stated in the

preceding paragraphs of these Objections.




       DATED at Denver, Colorado this,        6th   day of June         , 2018         .


                                                          s/ Abraham V Hutt
                                                          Abraham V Hutt
                                                          #14137
                                                          Recht Kornfeld PC
                                                          1600 Stout Street, Suite 1400
                                                          Denver, Colorado 80202
                                                          (303) 573-1900




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                              CERTIFICATE OF SERVICE

I hereby certify that a copy of the forgoing was served this _6th   day of June, 2018 by
ECF upon:


Valeria Neale Spencer Valeria.Spencer@usdoj.gov, CaseView.ECF@usdoj.gov,
USACO.ECFCriminal@usdoj.gov, valerie.nielsen@usdoj.gov

Clay C. Cook     c2cook@bop.gov, clay.cook@usdoj.gov, mackenzie.bray@usdoj.gov

Celeste Brianne Rangel celeste.rangel@usdoj.gov, CaseView.ECF@usdoj.gov,
Harmony.Ragland@usdoj.gov, Kelsey.Totura@usdoj.gov, diana.brown@usdoj.gov,
maggie.grenvik@usdoj.gov, usaco.ecfcriminal@usdoj.gov


                                                               s/ Leni Charles
                                                               Legal Assistant




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